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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

THE LABORERS’ DISTRICT COUNCIL
CONSTRUCTION INDUSTRY PENSION
FUND
1361 Ridge Ave.,
Philadelphia, PA 19123

and
THE LABORERS’ DISTRICT COUNCIL
BLDG. AND CONSTRUCTION HEALTH AND
WELFARE FUND
211 North 13th St., 6"‘ Fl.,
Philadelphia, PA 19107

and : CIVIL ACTION NO.:
THE LABORERS’ DISTRICT COUNCIL
EDUCATION AND TRAINING FUND
1361 Ridge Ave.,
Philadelphia, PA 19123

and
THE LABORERS’ DISTRICT COUNCIL
PREPAID LEGAL PLAN
661 North Broad St.,
Philadelphia, PA 19123

and .
THE LABORERS’ DISTRICT COUNCIL OF
THE METROPOLITAN AREA OF
PHILADELPHIA AND VICINITY LABORERS’
INTERNATIONAL UNION OF NORTH
AMERICA, RYAN BOYER AS TRUSTEE AD
LITEM
665 North Broad St.,
Philadelphia, PA 19123

and
THE LABORERS’ - EMPLOYERS’
COOPERATION AND EDUCATION TRUST
1500 Walnut St., Ste. 1304,
Philadelphia, PA 19103

and
LABORERS’ DISTRICT COUNCIL LOCAL
REGIONAL, AND STATE HEALTH AND
SAFETY BENEFIT FUND
1500 Walnut St., Ste. 1304,
Philadelphia, PA 19103

and

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CONTRACTORS ASSOCIATION OF
EASTERN PENNSYLVANIA

1500 Walnut Street, #1105,

Philadelphia, PA 19102

 

Plaintiffs
vs.
MINISCALCO CORPORATION
40 W. Evergreen Avenue
Suite 101
Philadelphia, PA 19118
Defendant
COMPLAINT
I. Jurisdiction and Venue
1. This Court has jurisdiction over the subject matter of this action pursuant to 29
U.S.C. §§ 185(a), 1132 and 1145.
2. A copy of this Complaint has been served upon the Secretary of Labor and the

Secretary of the Treasury of the United States by Certified Mail.

3. This Court is one of proper venue pursuant to 29 U.S.C. §§ 185(a) or ll32(e).
II. Par_ties

4. The Laborers’ District Council Construction Industry Pension Fund (hereinafter
referred to as “Pension Fund”) is a trust fund established and maintained pursuant to Section
302(0) of the LMRA, 29 U.S.C. § 186(0)(5), and is an employee benefit plan established and
maintained pursuant to §§ 3(1) and (3) of ERISA, 29 U.S.C. §§1002(1) and (3), which is
maintained for the purpose of providing pension retirement benefits to eligible participants The
Pension Fund qualifies to commence this action under §502(d)(l) of ERISA, 29 U.S.C.

§1132(D)(1).

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5. Plaintiff, Laborers’ District Council Building and Construction Health and
Welfare Fund (hereinafter referred to as “Building & Construction Health and Welfare Fund”),
is a trust fund established and maintained pursuant to §302(0)(5) of the LMRA, 29 U.S.C.
§186(0)(5), and is an employee benefit plan established and maintained pursuant to §§3(1) and
(3) of ERISA, 29 U.S.C. §§1002(1) and (3), Which is maintained for the purpose of providing
health benefits and other welfare benefits to eligible participants The Health and Welfare Fund
qualifies to commence this action under §502(d)(l) of ERISA, 29 U.S.C. §1132(D)(l).

6. The Laborers’ District Council Education and Training Fund (hereinafter referred
to as “Training Fund”), is a trust fund established and maintained pursuant to §302(0)(5), of
LMRA, 29 U.S.C. §186(0)(5), and is an employee benefit plan established and maintained
pursuant to §§3(1) and (3) of ERISA, 29 U.S.C. §1 132(d)(1).

7. The Laborers’ District Council Prepaid Legal Fund (hereinafter referred to as
“Legal Fund”), is a trust fund established and maintained pursuant to §§3(1) and (3) of ERISA,
29 U.S.C. §§1002(1) and (3), Which is maintained for the purpose of providing prepaid legal
benefits to eligible participants The Legal Fund qualifies to commence this action under
§502(d)(l) of ERISA, 29 U.S.C. §1132(d)(1).

8. Plaintiff, Laborers’ District Council of the Metropolitan Area of Philadelphia and
vicinity, Laborers’ International Union of North America (hereinafter referred to as the
“Union”), is an unincorporated labor organization engaged in representing employees for the
purpose of collective bargaining Ryan Boyer is Business Manager of the Union and is duly
authorized to serve as Trustee Ad Litem for the purpose of these proceedings

9. Plaintiff, Laborers’ - Employers’ Cooperation and Education Trust (hereinafter

referred to as “LECET”), is a trust fund established and maintained pursuant to §§302(0)(5) of

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LMRA, 29 U.S.C. §186(0)(5), and is an employee benefit plan established and maintained
pursuant to §§3(1) and (3) ofERISA, 29 U.S.C. §l 132(d)(1).

10. Plaintiff Laborers’ District Council Local, Regional and State Health and Safety
Benefit Fund (hereinafter referred to as “Health and Safety Fund”), is a trust fund established and
maintained pursuant to §302(0)(5) of LMRA, 29 U.S.C. §186(0)(5) and is an employee benefit
plan established and maintained pursuant to §§3(1) and (3) of ERISA, 29 U.S.C. §§1002(1) and
(3), Which is maintained for the purpose of providing health and other Welfare benefits to eligible
participants As such, the Health and Safety Fund is qualified to commence this action pursuant
to §§502(d)(1) of ERISA, 29 U.S.C. §1 132(d)(1).

11. Plaintiff, Contractors Association of Eastern Pennsylvania is a non-profit
corporation representing employers in the commercial and institutional construction industry for
the purpose of collective bargaining

12. Defendant, Miniscalco Corporation, (hereinafter referred to as “Miniscalco”,
“Employer” or “Defendant”) is an employer in affecting commence Within the meaning of
§§3(5), (l 1), and (12) of ERISA, 29 U.S.C. §§1002(5), (11) and (12) and Sections (6) and (7) of
the National Labor Relations Act, as amended, 29 U.S.C. §152(2) (6) and (7) (hereinafter
referred to as the “N.L.R.A.”).

13. Defendant, Miniscalco, is a corporation authorized to conduct business in the
Commonwealth of Pennsylvania. Defendant maintains its place of business at 40 West
Evergreen Avenue, Suite 101, Philadelphia, Pennsylvania, 19118.

III. Statement of the Claim
14. At all times relevant hereto, Defendant, Miniscalco, and Plaintiff, Union have

been parties to a Collective Bargaining Agreement.

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15. The Defendant, Miniscalco, also signed and/or agreed to abide by the terrns'of the
agreements and declarations of trust of the Plaintiff Funds, as from time to time amended (“Trust
Agreements”) made between certain employers and employee representatives in an industry(ies)
affecting interstate commerce to promote stable and peaceful labor relations

16. The Collective Bargaining Agreement contains provisions whereby Defendant,
Miniscalco, was required to deduct designated amounts for Union working dues and PAC and
make designated contributions to the Laborers’ District Council Pension Fund, Health and
Welfare Fund, Education and Training Fund, Prepaid Legal Fund and Health and Safety Benefit
Fund on behalf of all employees covered by the Collective Bargaining Agreement and was
required to pay such amounts to the Union and Funds.

17. Under the Labor Contract or Trust Agreements, Defendant, Miniscalco, agreed:

a. to make full and timely payments on a monthly
basis to the Funds, Union and Industry
Advancement Program as required by the Labor
contracts;

b. to file monthly remittance reports with the Funds
detailing all employees or work for which
contributions were required under the Labor
Contract;

c. to produce upon request by the Funds, individually
or jointly, all books and records deemed necessary
to conduct an audit of the Company’s records
concerning its obligations to the Funds and Union;
and

d. to pay liquidated damages and all costs of litigation,
including attorneys fees, expended by the Funds and
Union to collect any amounts due as a consequence
of the Company’s failure to comply with its
contractual obligations described in subparagraphs
(a), (b), and (e) above; and

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e. to make payment of interest at the prime lending
rate plus two percent on all contributions paid to the
Funds after the date upon which they were due.

18. This action is brought by the fiduciaries of the above Funds pursuant to
§502(g)(2), 29 U.S.C. §ll32(g)(2) to enforce §515 of ERISA, 29 U.S.C. §1145, pursuant to
which the Court is directed require the employer to participate in an accounting of its books and
records and to award all unpaid contributions, interest and liquidated damages up to or exceeding
twenty percent, reasonable attorney’s fees, court costs and any other fees or relief which the
Court deems appropriate

l9. Under the terms of the Collective Bargaining Agreement, Defendant, Miniscalco,
is contractually obligated to pay interest, audit fees, counsel fees and liquidated damages

20. Based upon a review of the payroll records of the Defendant (“audit”) for the
period beginning July l, 2016, through March 31, 2018, Defendant, Miniscalco, failed to make
benefit fund contributions in the amount of $49,088.03.

21. All delinquent contributions herein have remained unpaid for more than thirty
(30) days beyond the date on which they were due pursuant to the terms of the Collective
Bargaining Agreement and Trust Agreements.

22. This action is brought by the fiduciaries of the above Funds pursuant to
§502(g)(2), 29 U.S.C. §1132(g)(2) to enforce §515 of ERISA, 29 U.S.C. §1145, pursuant to
which the Court is directed to award all unpaid contributions, interest and liquidated damages up

to or exceeding twenty percent, reasonable attorney’s fees, court costs and any other fees or

relief which the Court deems appropriate

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COUNT I - Breach of Contract - Unpaid Contributions
l_’laintiffs v. Defendant

23. The allegations contained in paragraphs 1 through 22 are incorporated herein by
reference as fully as though set forth at length.

24. Defendant owes the Funds and Union the contributions, in the amount of at least
$49,088.03 arising from work performed July 1, 2016 through March 31, 2018 in addition to
interest, audit fees of $1800.00, legal fees and/or liquidated damages

25. Defendant has not made payments to the Funds and Union as required by the
Labor Contract and/or Trust Agreements and as such, are in violation of §301 of the LMRA, 29
U.S.C. §185(a) corresponding to work performed July 1, 2016, through March 31, 2018.

WHEREFORE, Plaintiffs ask that the Court:

1. Enter judgment in favor of the plaintiffs, and against the Defendant, in the
amount of $50,888.03 plus additional interest to be calculated in
accordance with applicable law, and liquidated damages as demanded,
plus any additional amounts which are found to be due and owing during
the pendency of this litigation, interest, and attorneys’ fees incurred in this
action or in the collection and enforcement of any judgment, as provided

by the Labor Contract and/or Trust Agreements.

2. Grant such other or further relief, legal and equitable as may be just,
necessary or appropriate

COUNT II - ERISA - Unpaid Contributions
Fund Plaintiffs v. Defendan_t
26. The allegations contained in paragraphs 1 through 25 above are incorporated
herein by reference as fully as though set forth at length.
27. Defendant has failed to make payment of contributions pertaining to work
performed through July 1, 2016 through March 31, 2018, in violation of 29 U.S.C. §1145 in the

amount of $49,088.03.

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28. The Funds have been damaged by Defendant’s violation of 29 U.S.C. §1145.

WHEREFORE, Plaintiffs ask that the Court:

1. Enter judgment against the Defendant, and in favor of the Funds, in the
amount of $50,888.03 plus any additional amounts which are found to be
owing during the pendency of this litigation, interest and costs and
attorneys’ fees incurred in this action or in the collection or enforcement
of any judgment, as provided in the Labor Contract or Trust Agreements
or any amounts which are found to be due and owing during the pendency
of this litigation, together with interest at the rate prescribed in 26 U.S.C.
§6621, liquidated damages equal to the greater of the interest on the
unpaid contributions or liquidated damages provided by the documents
governing the Funds or statute and reasonable attorneys’ fees and costs
incurred in this action or the collection or enforcement of any judgment.

2. Grant such other or further relief, legal or equitable as may be just,
necessary or appropriate.

COUNT I - AUDIT/ACCOUNTING
Plaintiffs v. Defendant

29. The allegations of paragraphs l through 28 are incorporated herein by reference
as if fully restated.

30. The amount of contributions defendant is required to pay to the Funds and Union
is based upon hours worked and wages paid to the employees performing work covered by the
Labor Contract.

31. The plaintiffs are without sufficient information or knowledge to plead the precise
nature, extent and amount of the defendant Miniscalco Corporation’s delinquency for the period
April l, 2018, through and including the present, since the books, records and information
necessary to determine such liability are in the exclusive possession, custody, control and

knowledge of the defendant

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32. Computation of the precise amount of an employer’s delinquency is ordinarily
achieved by an audit of the employer’s books and records and/or calculated from contractually
required remittance reports submitted by the employer and defendant has failed and refused to
cooperate with same.

33. Plaintiffs do not have sufficient information at the present time to calculate the
amount of any deficiency from April 1, 2018, through the present.

34. Defendant is required by the Labor Contract, Trust Agreements and/or applicable
law to permit the Funds to audit its records and to cooperate with the Funds in determining the
amount of contributions due.

35. Plaintiffs have no adequate remedy at law for the calculation of damages suffered
from April 1, 2018 through and including the present as a result of defendant’s breach of its
obligations and therefore require an audit.

36. Accordingly, in addition to seeking an audit to determine contributions owed the
Funds, plaintiffs seek access to payroll withholding records from March 1, 2015 through the
present to determine the amount of benefit fund contributions owed.

37. All conditions precedent to equitable relief have been satisfied

WHEREFORE, the Funds and Union plaintiffs ask that the Court:

1. Enjoin the defendant, Miniscalco Corporation, its officers, agents,

servants, employees, attorneys and all others in active concert or
participation with them to permit an audit of all records from July 1, 2015,
through the present under the actual or constructive control of the
defendant; and in the absence of records, to cooperate in alternative
methods for the determination of work for which contributions are due;

and

2. Grant such other and further relief, legal or equitable as may be just,
necessary or appropriatel

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COUNT IV - CONTRIBUTIONS UNDER CONTRACT AFTER AUDIT
All Plaintiffs v. Defendant
38. The allegations of paragraphs 1 through 37 are incorporated by reference as if
fully restated.
39. Defendant has failed to make contributions to the Funds and Union as required by
the Labor Contract or Trust Agreements.
40. Plaintiffs have been damaged by the failure of defendant to make contributions as
required by its Labor Contract or Trust Agreements.
WHEREFORE, Plaintiffs ask that the Court:
1. After an audit, enter judgment against the defendant and in favor of the
plaintiffs individually for the amount of contributions found due and
owing by an audit, together with liquidated damages, interest and costs,
including reasonable audit fees and attorney’s fees incurred in this action
or in the collection and enforcement of any judgment, as provided in the

Labor Contract or Trust Agreements; and

2. Grant such other relief, legal or equitable, as may be just, necessary or
appropriate

COUNT V - CONTRIBUTIONS UNDER ERISA, AFTER AUDIT
Fund Plaintiffs v. Defendant

41. The allegations of paragraphs 1 through 40 are incorporated by reference as if
fully restated.

42. On information and belief, defendant has failed to make contributions to the
Funds in violation of 29 U.S.C. §1145.

43. The plaintiffs are without sufficient information or knowledge to plead the precise
nature, extent and amount of the defendant’s delinquency for the period July 1, 2015 through the

present, since the books, records and information necessary to determine this liability are within

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the possession, control and knowledge of the defendant.

44. On information and belief, the plaintiff Funds have been damaged by defendant’s
violation of29 U.S.C. §1145.

WHEREFORE, Plaintiffs ask that this Court:

l. After an audit, enter judgment against the defendant, Miniscalco
Corporation, and in favor of the plaintiff Funds individually for the
contributions found due and owing by the audit, together with interest at
the rate prescribed in 26 U.S.C. §6621 from the due date of the payment
until the date of the actual payment, liquidated damages equal to the
greater of the interest on the unpaid contributions or liquidated damages
provided by the Plan document or statute and reasonable audit fees and
attorneys’ fees and costs incurred in connection with any proceedings to
enforce or collect any judgment; and

2. Grant such other or further relief, legal or equitable, as may be just,

necessary or appropriate
/S/ Maazf¢%é:§§@@

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I.D. No. 40019

HAMBURG & GOLDEN, P.C.

1601 Market, Suite 3 310

Philadelphia, PA 19103-1443

(215) 255-8594

(215) 255-8583 (facsimile)

_E-mail: goldsteinnl@hamburg-golden.com

Date: August 23, 2018 Attorney for Plaintiffs

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CERTIFICATE (E SERVICE

Nancy L. Goldstein, Esquire, hereby certifies that a true and correct copy of the foregoing

Complaint has been served as required by §502(h) of the Employment Retirement lncome

Security Act of 1974, 29 U.S.C. §1132(h) on the date listed herein, upon the following:

Date: August 23, 2018

VIA CERTIFIED MAIL:
Secretary of the Treasury
lntemal Revenue Service

llll Constitution Avenue, NW
Washington, D.C. 20224

Attn. T:EP

and

VIA EMAIL:

Plan Benefits Security Division

ATTN: Tim Hauser, Division Coordinator
U.S. Department of Labor

200 Constitution Avenue, N.W.

Room N461 1

Washington, DC 20010

 
   

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